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                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
RCH:AXB/LAZ                                      610 Federal Plaza
F. #2022R01030                                   Central Islip, New York 11722


                                                 December 11, 2023

By ECF

The Honorable Joanna Seybert
United States District Judge
Eastern District of New York
610 Federal Plaza
Central Islip, New York 11722

             Re:      United States v. George Anthony Devolder Santos
                      Criminal Docket No. 23-197 (S-1) (JS)

Dear Judge Seybert:

              The parties respectfully submit this proposed joint agenda for the status
conference in the above-captioned matter scheduled for December 12, 2023 at 10:30 a.m.

    Production of Rule 16 Material: The government continues to produce discoverable
     material to the defendant on a rolling basis pursuant to Federal Rule of Criminal
     Procedure 16. The government has made prior productions of material to the defendant
     on June 27, 2023, September 1, 2023 and October 27, 2023. The government
     anticipates making another production of material to the defendant tomorrow, which
     will substantially complete the production of discoverable material currently in the
     government’s possession. The government will continue to produce discoverable
     material on a rolling basis.

    Trial Date: The government respectfully renews its request for a trial date in May or
     June 2024 in this matter. At the last status conference, the Court set a trial date of
     September 9, 2024, due to other criminal trials scheduled before the Court in Spring
     2024. The government respectfully requests that, if any of those matters have been
     resolved or are scheduled to be resolved in the coming weeks, that the Court reconsider
     the government’s request for an earlier trial date. Defense counsel opposes the
     government’s request for an earlier trial date.

    Pre-Trial Schedule: The government respectfully submits the following proposed pre-
     trial schedule for the Court’s consideration:
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       o Pre-Trial Motions:1
             Initial Defense Brief Due – January 19, 2024
             Government Response Due – February 23, 2024
             Defense Reply Due – March 8, 2024

       o Expert Disclosures Pursuant to Rule 16(a)(1)(G):
                 Initial Expert Disclosures – Eight Weeks Before Trial
                 Rebuttal Expert Disclosures – Six Weeks Before Trial

       o Motions in Limine:
            Initial Briefs Due – Five Weeks Before Trial
            Responses Due – Three Weeks Before Trial
            Replies Due – Two Weeks Before Trial

       o Witnesses/Exhibits/Section 3500/Rule 26.2 Materials: Three Weeks Before Trial

       o Final Pretrial Conference: One Week Before Trial

    Next Status Conference – The parties respectfully request that the Court schedule the
     next status conference in approximately 30 days. The parties are presently engaged in
     plea negotiations with the goal of resolving this matter without the need for a trial. The
     parties wish to continue those negotiations over the next thirty days and respectfully




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                Defense counsel has advised the government that they object to the proposed
schedule for pre-trial motions, but has not proposed an alternative schedule. Defense counsel
has not advised the government of any objections to the remainder of the proposed schedule.
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      submit that the ends of justice served by such an excludable delay outweigh the best
      interests of the public and the defendant in a speedy trial.

                                               Respectfully submitted,

                                               BREON PEACE
                                               United States Attorney

                                         By:     /s/
                                               Ryan C. Harris
                                               Anthony Bagnuola
                                               Laura Zuckerwise
                                               Assistant U.S. Attorneys

                                               COREY R. AMUNDSON
                                               Chief, Public Integrity Section
                                               U.S. Department of Justice

                                         By:     /s/
                                               Jacob R. Steiner
                                               John P. Taddei
                                               Trial Attorneys

cc:   Joseph Murray Esq. (by ECF)
      Clerk of the Court (JS) (by ECF)




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